        Case 4:22-cv-01587-JSW Document 73 Filed 06/13/23 Page 1 of 2




     Russell Davis (SBN 177959)
 1
     PACIFIC JUSTICE INSTITUTE
 2   29 Lakewood Ave.
     San Francisco, CA 94127
 3   Tel. (415) 310-6575
 4   rdavis@pji.org

 5   Attorney for Plaintiffs

 6
 7
 8
                           IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
      SELINA KEENE, MELODY FOUNTILA, MARK ) Case No.: 4:22-cv-01587-JSW
11    MCCLURE,                                          )
                                                        ) PETITION TO ENTER AN ORDER
12          Plaintiffs,                                 ) PURSUANT TO THE NINTH
                                                        ) CIRCUIT’S MEMORANDUM
13   v.                                                 )
14                                                      )
     CITY AND COUNTY OF SAN FRANCISCO;                  )
15   LONDON BREED, Mayor of San Francisco in her )
     official capacity; CAROL ISEN Human Resources ) Date: July 28, 2023
16                                                        Time: 9:00 AM
     Director, City and County of San Francisco, in her ) Judge: The Honorable Jeffrey S. White
     official capacity; DOES 1-100,                     )
17
                                                        )
18         Defendants.                                  )
                                                        )
19
20
21
22
23
24
25
26
27
     _________________________________________________________________________________________________________
                 PETITION TO ENTER AN ORDER PURSUANT TO THE NINTH CIRCUIT’S MEMORANDUM
28
                                                        -1-
        Case 4:22-cv-01587-JSW Document 73 Filed 06/13/23 Page 2 of 2




 1          Russell Davis declares:
 2          1. I am the attorney of record for the Plaintiffs herein. I have personal knowledge of the
 3   facts in this matter and if called to testify regarding them I would and could do so competently.
 4          2. On May 15, 2023 (Docket no. 64), the Ninth Circuit Court of Appeals entered a
 5   Memorandum stating grounds for its remand of Plaintiffs Motion for Preliminary Injunction. On
 6   June 5, 2023, (Docket no. 71) that same court entered its Mandate, which constitutes the formal
 7   mandate of this Court issued pursuant to Rule 41(a) of the Federal Rules of Appellate Procedure.
 8          3. This case is subject to this court’s further order re: the Ninth Circuit’s Memorandum.
 9   My clients will be prejudiced by further delay in entering said order. Wherefore Plaintiffs request
10   the Court to enter an order consistent with the Ninth Circuit’s remand.
11          Dated: June 13, 2023
                                                              /s/ Russell Davis
12
                                                              Russell Davis
13                                                            PACIFIC JUSTICE INSTITUTE

14                                                            Attorney for Plaintiffs
15
16
17
18
19
20
21
22
23
24
25
26
27
     _________________________________________________________________________________________________________
                 PETITION TO ENTER AN ORDER PURSUANT TO THE NINTH CIRCUIT’S MEMORANDUM
28
                                                        -2-
